        Case 2:18-cr-00379-JMV Document 160 Filed 01/07/20 Page 1 of 1 PageID: 2668
                               UNITED STATED DISTRICT COURT
                                   DISTRICT OF NEW JERSEY
                                  MINUTES OF PROCEEDINGS


OFFICE: NEWARK                                          DATE: 1/7/2020
JUDGE: JOHN MICHAEL VAZQUEZ
COURT REPORTER: Lisa A. Larsen

TITLE OF CASE:                                          DOCKET# 18-379-01

UNITED STATES OF AMERICA
           vs.

Germaine H. King


APPEARANCES:

Lakshmi Herman, AUSA
Kenneth Kayser, Esq. as standby counsel for Defendant
Kimberly Artist, Probation Officer
Defendant present.

Nature of Proceedings: SENTENCING ON Count 1,2,3,4,5,6,7,8,9,10,11,12,13,14,15

Imprisonment – 70 months on each of Counts 1 through 15 to run concurrently.
Supervised Release – 5 years on each of Counts 1 through 4 and terms of 3 years on each of
Counts 5 through 15, all such terms to run concurrently.
Special conditions: new debt, financial disclosure, supporting dependents, etc.
Restitution: $597,780.99 interest waived.
Special Assessment - $ 1,500.00 due immediately.
Forfeiture: $457,000.
Defendant advised of right to appeal.
Fine waived.
Recommendation that Defendant be considered for a IFRP program. Designation as near as
Defendant’s home address.
Defendant to self-surrender upon designation.

Time Commenced: 10:30
Time Adjourned: 12:00
Total Time: 1:30


                                               RoseMarie Olivieri
                                               SENIOR COURTROOM DEPUTY
